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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

                                      CLERK’S MINUTES

 CASE NO.: 8:17-cr-309-WFJ-JSS                              DATE:      July 14, 2022

 HONORABLE WILLIAM F. JUNG

 UNITED STATES OF AMERICA                                   GOVERNMENT COUNSEL:
                                                            Diego Fontes Novaes, AUSA
 v.
                                                            DEFENDANT COUNSEL:
 GEORGE CALHOUN                                             Michael P. Maddux, CJA

 COURT REPORTER: Tracey Aurelio                             DEPUTY              Caleb Houston
                                                            CLERK:
 TIME: 11:03 AM - 11:10 AM TOTAL: 7 Minutes                 COURTROOM:          15B - Tele


PROCEEDINGS: TELEPHONIC STATUS CONFERENCE

Court called to order.

Counsel identified for the record.

For the reasons stated on the record the Court will schedule this matter for sentencing.

Sentencing will be scheduled by separate notice.

Court adjourned.
